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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


Todd Pancake, Board of Trustees Chairman, and           )
Doug Robinson, Board of Trustees Secretary, on behalf of)
INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL )
OF CARPENTERS PENSION FUND;                             )
                                                        )
Todd Pancake, Board of Trustees Chairman, and           )
Greg Hauswald, Board of Trustees Secretary on behalf )
INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL )
OF CARPENTERS DEFINED CONTRIBUTION                      )
PENSION TRUST FUND;                                     )
                                                        )
Todd Pancake, Board of Trustees Co-Chairman, and        )
William Nix, Board of Trustees Co-Chairman, on behalf )
of INDIANA/KENTUCKY/OHIO REGIONAL                       )
COUNCIL OF CARPENTERS WELFARE FUND;                     )
                                                        )
Todd Pancake, Board of Trustees Chairman, and           )
Joe Coar, Board of Trustees Secretary, on behalf of     )
INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL )
OF CARPENTERS JOINT APPRENTICESHIP AND )
TRAINING FUND;                                          )
                                                        )
Douglas J. McCarron, Board of Trustees Chairman,        ) CASE NO. 1:20-CV-315
on behalf of UNITED BROTHERHOOD OF                      )
CARPENTERS APPRENTICESHIP TRAINING FUND )
OF NORTH AMERICA;                                       )
                                                        )
and,                                                    )
                                                        )
INDIANA/KENTUCKY/OHIO REGIONAL                          )
COUNCIL OF CARPENTERS,                                  )
                                                        )
                            Plaintiffs,                 )
vs.                                                     )
                                                        )
ALL KRAFT ERECTORS, INC.,                               )
                                                        )
                            Defendant.                  )
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                                      COMPLAINT

      Plaintiffs Todd Pancake, Board of Trustees Chairman, and Doug Robinson, Board of

Trustees Secretary, on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF

CARPENTERS PENSION FUND; Todd Pancake, Board of Trustees Chairman, and Greg

Hauswald, Board of Trustees Secretary on behalf of INDIANA/KENTUCKY/OHIO

REGIONAL COUNCIL OF CARPENTERS DEFINED CONTRIBUTION PENSION

TRUST FUND; Todd Pancake, Board of Trustees Co-Chairman, and William Nix, Board of

Trustees Co-Chairman, on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL

OF CARPENTERS WELFARE FUND; Todd Pancake, Board of Trustees Chairman, and

Joe Coar, Board of Trustees Secretary, on behalf of INDIANA/KENTUCKY/OHIO

REGIONAL COUNCIL OF CARPENTERS JOINT APPRENTICESHIP AND TRAINING

FUND; Douglas J. McCarron, Board of Trustees Chairman, on behalf of UNITED

BROTHERHOOD OF CARPENTERS APPRENTICESHIP TRAINING FUND OF NORTH

AMERICA;       and,   INDIANA/KENTUCKY/OHIO               REGIONAL         COUNCIL        OF

CARPENTERS, by their attorneys, PAUL T. BERKOWITZ & ASSOCIATES, LTD., complain

of Defendant ALL KRAFT ERECTORS, INC. stating as follows:



                                         COUNT I

      1.     This action arises under and jurisdiction resides with this Court pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §1001, et seq.,

("ERISA") and more particularly under Sections 502 and 515 of ERISA, 29 U.S.C. §1132 and

§1145, and is brought by Plaintiffs Todd Pancake, Board of Trustees Chairman, and Doug

Robinson, Board of Trustees Secretary, on behalf of INDIANA/KENTUCKY/OHIO


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REGIONAL COUNCIL OF CARPENTERS PENSION FUND; Todd Pancake, Board of

Trustees Chairman, and Greg Hauswald, Board of Trustees Secretary on behalf of

INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS DEFINED

CONTRIBUTION PENSION TRUST FUND; Todd Pancake, Board of Trustees Co-

Chairman,        and    William     Nix,   Board    of   Trustees   Co-Chairman,     on   behalf      of

INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS WELFARE

FUND; Todd Pancake, Board of Trustees Chairman, and Joe Coar, Board of Trustees

Secretary, on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF

CARPENTERS JOINT APPRENTICESHIP AND TRAINING FUND; Douglas J.

McCarron, Board of Trustees Chairman, on behalf of UNITED BROTHERHOOD OF

CARPENTERS             APPRENTICESHIP           TRAINING       FUND    OF    NORTH        AMERICA

(collectively referred to as the “Trust Funds”) in order to judicially enforce the obligations owed,

and breached, by Defendant ALL KRAFT ERECTORS, INC. (“All Kraft”) to the Plaintiffs Trust

Funds. More specifically, Plaintiffs Trust Funds seek an order compelling Defendant All Kraft to

pay all delinquent contributions found due in Plaintiffs’ March 19, 2014 variance letter1 sent to

Defendant All Kraft. Plaintiffs Trust Funds also seek an order directing All Kraft to pay liquidated

damages and interest on the delinquent contributions, plus attorneys' fees and costs incurred by

Plaintiffs as a result of being forced to bring this action.

          2.      Plaintiffs Trust Funds are employee benefit funds within the meaning of and subject

to ERISA. The Plaintiffs Trust Funds provide benefits for employees working within this judicial

district and are, themselves, administered in this judicial district, with the exception of UBCATF.




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    Attached hereto as Exhibit A.
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         3.      At all times materials herein, Defendant All Kraft has employed employees within

this judicial district.

         4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and 28 U.S.C. §

1391(b)(2).

         5.      At all times material herein, Defendant All Kraft has been a signatory to a collective

bargaining agreement with the Indiana/Kentucky/Ohio Regional Council of Carpenters ("Union")

and, as such, is bound by the Plaintiffs Trust Funds' Agreements and Declarations of Trust ("Trust

Agreements").

         6.      Defendant All Kraft breached the Agreements identified in Paragraph 5 of this

Count and is in violation of Sections 502 and 515 of ERISA (and 29 U.S.C. § 185) by failing to pay

the contributions and contractually required interest and liquidated damages to the Plaintiffs Trust

Funds.

         7.      Despite Plaintiffs Trust Funds' requests, Defendant All Kraft has failed to pay the

contractually and statutorily required monies.

         8.      Plaintiffs Trust Funds have satisfied all statutory prerequisites as set forth in 29

U.S.C. §1132 (h).



         WHEREFORE, Plaintiffs Trust Funds pray this Court order that:

         1.      Defendant All Kraft pay the delinquent contributions, interest and liquidated

damages found due in Plaintiffs’ March 19, 2014 variance letter sent to Defendant All Kraft which

are owed to Plaintiffs Trust Funds;

         2.      Defendant All Kraft pay statutory post-judgment interest on all principal

contributions found due by this Order;


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        3.      Defendant All Kraft pay Plaintiffs Trust Funds' attorneys' fees and costs incurred

herein; and,

        4.      Such other and further relief that this Court may find just and proper be entered

against Defendant All Kraft.



                                              COUNT II

        1.      Plaintiff   INDIANA/KENTUCKY/OHIO                 REGIONAL        COUNCIL       OF

CARPENTERS ("Union") is a labor organization whose duly authorized officers or agents are

engaged in representing or acting for employee members within this judicial district.

        2.      At all times material herein, Defendant ALL KRAFT ERECTORS, INC. (“All

Kraft”) has been engaged in an industry affecting interstate commerce and employs individuals

working within this judicial district.

        3.      This Court has jurisdiction of this action pursuant to Section 301 of the Labor-

Management Relations Act, 1947, as amended, 29 U.S.C. §185 (“LMRA”).

        4.      Venue is appropriate in this Judicial District a substantial part of the events or

omissions giving rise to the claim occurred within this Judicial District.

        5.      At all times material herein, Defendant All Kraft has been signatory to a collective

bargaining agreement with the Union. Included among the contractual obligations between the

parties is the requirement that All Kraft make payroll deductions to the Union.

        6.      Defendant All Kraft breached its contractual obligations to the Union by failing to

pay the delinquent deductions, plus interest and liquidated damages found due in Plaintiff’s March

19, 2014 variance letter.




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        7.      Despite the Union's request, Defendant All Kraft has failed to pay the monies

identified in this Count.

        WHEREFORE, Plaintiff Union prays this Court order that:


        1.      Defendant All Kraft pay the delinquent deductions, plus interest and liquidated

damages found due in Plaintiff’s March 19, 2014 variance letter owed to Plaintiff Union;

        2.      Defendant All Kraft pay statutory post-judgment interest on all principal deductions

found due by this Order;

        3.      Defendant All Kraft pay Plaintiff Union's attorneys’ fees and costs incurred herein;

and,

        4.      Such other and further relief that this Court may find just and proper be entered

against Defendant All Kraft.




                                      Respectfully submitted,

                                      PAUL T. BERKOWITZ & ASSOCIATES, LTD.


                                      By            /s/ Paul T. Berkowitz
                                                  PLAINTIFFS’ ATTORNEYS




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